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The following constitutes the ruling of the court and has the force and effect therein described.



Signed July 19, 2019
                                            United States Bankruptcy Judge
  ______________________________________________________________________



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

             In re:                                § Chapter 11
                                                   §
             Rooftop Group International Pte. Ltd. § Case No. 19-31443-hdh11
                                                   §
                   Debtor.                         §

                 ORDER GRANTING APPLICATION FOR AUTHORIZATION
                   TO EMPLOY AND COMPENSATE REED SMITH LLP
                    AS BANKRUPTCY COUNSEL FOR THE DEBTOR

                     Came on for consideration the Application for Authorization to
             Employ and Compensate Reed Smith LLP as Bankruptcy Counsel for the
             Debtor [Docket No. 20] (the “Application”)1 filed by Rooftop Group
             International Pte. Ltd., as debtor and debtor in possession (the “Debtor”),
             and supported by the Declaration of Michael P. Cooley filed
             contemporaneously therewith. The Court finds that: (i) it has jurisdiction
             over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and
             1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii)
             the relief requested in the Motion is in the best interests of the Debtor, its
             estates, and creditors; (iv) proper and adequate notice of the Motion has
             been given and no other or further notice is necessary; (v) Reed Smith LLP

                      1
                       Capitalized terms used but not defined herein have the meanings assigned to them in the
             Application.

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      (“Reed Smtih”) and the Debtor have represented to the Court that Reed
      Smith is a “disinterested person” within the meaning of 11 U.S.C.
      § 101(14) and does not hold or represent any interest adverse to the Debtor
      or its estate; and (vi) upon the record herein after due deliberation thereon,
      good and sufficient cause exists for the granting of the relief as set forth
      herein. Accordingly, IT IS HEREBY ORDERED THAT:

             1.     The Application is GRANTED as set forth herein.

             2.     The Debtor is authorized pursuant to 11 U.S.C. § 327(a) to
      employ and retain Reed Smith as their bankruptcy counsel effective as of
      the Petition Date to provide professional services to the Debtor consistent
      with the scope of services described in the Application.

             3.    Reed Smith shall be compensated in accordance with the
      terms and conditions of Reed Smith’s engagement with the Debtor as set
      forth in the Application, subject to the procedures and requirements of
      11 U.S.C. §§ 330 and 331, Fed. R. Bankr. P. 2016(a), Local Bankr. R.
      2016-1, and any other applicable federal and local bankruptcy rules,
      procedures, and guidelines.

             4.     The Retainer paid to Bryan Cave Leighton Paisner LLP
      (“Bryan Cave”) in the amount of $50,000.00 shall be deemed to have been
      received by Bryan Cave prior to the commencement of this chapter 11 case.
      Accordingly, Bryan Cave is authorized to retain the Prepetition Payment in
      the amount of $21,354.60 as payment for services rendered prior to the
      commencement of this case, and Reed Smith may retain the remaining
      balance of the Retainer in the amount of $33,645.40 as a retainer to be
      applied to the payment of allowed fees and expenses upon further order of
      the Court.

                             # # # END OF ORDER # # #




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